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 1   CLARISSE L. CRISOSTOMO, ESQ., Bar No. 15526
     Email: clarisse@nv-lawfirm.com
 2
     ATKINSON LAW ASSOCIATES LTD.
 3   376 E Warm Springs Rd, Suite 130
     Las Vegas, NV 89119
 4   Telephone: (702) 614-0600
     Attorney for Robert E. Atkinson, Trustee
 5

 6
                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NEVADA
 7
     In re:                                                 Case No. 21-14486-abl
 8                                                          Chapter 7
 9
     INFINITY CAPITAL MANAGEMENT, INC.
     dba INFINITY HEALTH CONNECTIONS,
10
                           Debtor.
11

12

13
                            TRUSTEE’S OBJECTION TO CLAIM NO. 6

14            Chapter 7 trustee ROBERT E. ATKINSON (“Trustee”), hereby objects to Proof of

15   Claim No. 6 (“Claim”) filed by IMTISAL KHURI (“Creditor”). The basis for this objection

16   is the Claim is identified as a priority claim when it should be a general unsecured claim.

17            In accordance with Local Rule 3007(a)(4), claim documents of the Claim is attached

18   hereto as EXHIBIT 1.

19            This Objection is based on: the Memorandum of Points and Authorities contained

20   herein; and the attached exhibit.

21   DATED: July 11, 2022                          ATKINSON LAW ASSOCIATES LTD.
22
                                                   By:         /s/ Clarisse L. Crisostomo
23                                                       CLARISSE L. CRISOSTOMO, ESQ.
                                                         Nevada Bar No. 15526
24                                                       Attorney for Robert E. Atkinson, Trustee
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 1
                         MEMORANDUM OF POINTS AND AUTHORITIES
 2
                                    I.      BACKGROUND FACTS
 3
            1.      On September 14, 2021 (“Petition Date”), Debtor filed a voluntary petition
 4
     for chapter 7 bankruptcy relief in this district [DE #1], commencing this bankruptcy case
 5
     (“Bankruptcy Case”) and creating the associated bankruptcy estate (“Bankruptcy Estate”).
 6
            2.      On December 13, 2021, Creditor filed the Claim in the Bankruptcy Case as a
 7
     priority claim, claiming $208,000.00 as priority under Section 507(a) of the Bankruptcy
 8
     Code. See EXHIBIT 1.
 9

10
                          II.      LEGAL AUTHORITIES & ARGUMENT
11          3.      This objection is brought pursuant to 11 U.S.C. § 502(a)-(b) and Bankruptcy
12   Rule 3007.
13          4.      The Claim is sought as priority under Section 507(a). However, the Creditor
14   failed to identify which subsection of Section 507(a) applies. Upon review of Section 507(a),
15   none of the subsections of the statute applies to the Claim. See 11 U.S.C. § 507(a).
16          5.      The Claim therefore cannot obtain priority status and should be a general
17   unsecured claim.
18                                   III.    RELIEF REQUESTED
19          6.      For the reasons described above, the Trustee respectfully requests that the
20   Court sustain this objection, and in particular, the Claim shall be adjusted to be a general
21   unsecured claim in the amount of $280,000.00.
22
                                                 #####
23

24   DATED: July 11, 2022                          ATKINSON LAW ASSOCIATES LTD.

25                                                 By:         /s/ Clarisse L. Crisostomo
26
                                                         CLARISSE L. CRISOSTOMO, ESQ.
                                                         Nevada Bar No. 15526
27                                                       Attorney for Robert E. Atkinson, Trustee
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